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                                 DECLARATION OF M.G.U.

I am the mother of W.M.G., J.V.G., and G.V.G.

We entered the United States together. They separated me and my children 14 days after the first
day at the detention center in Dilley, TX.

Now, I am in a detention center in Pearsall, TX without my children.

I do not know when I will be able to see my children again.

I am able to speak with them two times each week for only 10 minutes each time, but sometimes
I am not able to speak with them because there are problems with the telephone. Sometimes the
telephone says, “your voice is not recognized” and I need to call again. Also sometimes the
telephone says “your call is disconnected.” The calls are very expensive so I am only able to call
when I have money, but when I do not have money, I am not able to communicate with my
children. In one month I only received one free call from the center. Also, sometimes my
children do not answer.

When I am able to call, G.V.G. is not able to give me information about his circumstances
because he is only two years old and too young to communicate how he is.

J.V.G. cannot communicate either by phone. He is a child that communicates with emotion and
actions so it is difficult for him to communicate how he is.

W.M.G. is able to communicate a little, but he is not able to tell me how G.V.G. is because they
are only together for one hour each day.

They feel more comfortable and confident to say more in person than over the telephone. They
have never needed to do this before because we were always together, so this type of
communication is uncomfortable.

I do not know the people who are caring for them so I worry every day.

I have never seen my children’s room either, nor the school, the cafeteria, nothing. So I am not
able to know if they are safe.

The Director said that she knows that the news is saying lots of things but the children are fine
there and that they are good kids. But she does not say any details. She did not tell me anything
about how they are eating, or how they are sleeping, and nothing about the school. I know that
they are not “fine” because they cry a lot, especially J.V.G. y G.V.G.. And W.M.G. is always
asking “how is your case” because he wants to be together.
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Like every parent, I want all the information about my children. I want a video of where they are
living. I want to know the therapists, the teacher, and all of the people that have contact with my
children. Also, I have concerns about the school and I want to know how school is going.

I am not able to get this information because of the problems with the telephone, it is too
expensive, and if I just have 20 minutes each week to speak, I am going to talk to my children
and they are not able to give me this information.

Each minute that I do not have this information is anguish.

Each minute that I am separated from my children is anguish.

I am never at ease without this information and without my children.
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